Case 2:20-cv-00018-SJF-SIL Document 18 Filed 10/07/20 Page 1 of 2 PageID #: 93


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                                                       October 7, 2020

VIA ECF

Hon. Denis R. Hurley, USDJ
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

Re:    Ruggiero v. County of Suffolk, 14-cv-07434 (DRH)(SIL)

Dear Judge Hurley:

        I represent the Plaintiff Dawn Ruggiero in the above referenced matter. I also represent
all Plaintiffs in the related case of Pflug v. County of Suffolk, 20-cv-00018(SJF)(SIL).

       By this letter, I request a pre-motion conference as required by 3(A)(ii) of the Court’s
individual rules regarding an anticipated motion to fully consolidate the Pflug matter with the
Ruggiero matter, which was the first filed case, or in the alternative, that the Court fully
consolidate the cases sua sponte.

                                         BACKGROUND

         The Ruggiero matter was the first in a series of cases brought against Suffolk County on
behalf of 9-1-1 Operators and Public Safety Dispatchers alleging violations of the ADA, the
disability provisions of the New York State Human Rights Law, and the FMLA. The second such
case filed was Castaneda v. Suffolk County et al., 15-cv-00185 (DRH)(SIL). On September 22, 2020
at a conference with Magistrate Judge Locke, the administrator of the estate of the deceased plaintiff
in the Castaneda matter indicated that he will be voluntarily discontinuing that case. See Civil
Conference Minute Order dated September 23, 2020 (ECF No. 43).

         The third case filed to remedy violations of the ADA and the disability provisions of the New
York State Human Rights Law was the case of Pflug v. County of Suffolk, 20-cv-00018(SJF)(SIL).
EEOC charges were timely filed on behalf of the three Plaintiffs in the Pflug case – Kristy Pflug,
Joseph Montaldo, and Anne DiIiorio in 2014. However, there was a significant delay in completing
the administrative process. On February 19, 2016, the EEOC made a probable cause determination
and on May 9, 2016, these cases were referred to the U.S. Department of Justice. The Department of
Justice issued a notice of right to sue on October 7, 2019.

                     CONSOLIDATION IS APPROPRIATE AND WILL RESULT
                                IN JUDICIAL ECONOMIES

       “If actions before the court involve a common question of law or fact, the court may ...


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Case 2:20-cv-00018-SJF-SIL Document 18 Filed 10/07/20 Page 2 of 2 PageID #: 94




consolidate the actions; or issue any other orders to avoid unnecessary cost or delay.” Fed. R.
Civ. P. 42(a)(2); Ruane v. Cnty. of Suffolk, 2013 U.S. Dist. LEXIS 20150, *15 (E.D.N.Y. Feb.
14, 2013) (Hurley, J.) (citing Fed. R. Civ. P. 42(a)(2)). The Court may in its discretion
consolidate actions under Rule 42(a) sua sponte. See Devlin v. Transp. Commc’ns Int’l Union,
175 F.3d 121, 130 (2d Cir. 1999). Moreover, “the Second Circuit has suggest[ed] that Rule 42(a)
‘be prudently employed as a valuable and important tool of judicial administration, invoked to
expedite trial and eliminate unnecessary repetition and confusion.”‘ Delre v. Perry, 288 F.R.D.
241, 246 (E.D.N.Y. 2012) (quoting Devlin v. Transp. Commc’ns Int’l Union, 175 F.3d 121, 130
(2d Cir. 1999)).

        The Ruggiero and Pflug cases share common questions of both law and fact. All plaintiffs in
these cases allege violations of the ADA and the disability provisions of the New York State Human
Rights Law. All plaintiffs claim that the discriminatory conduct arose out of an alleged uniform
policy of refusing to accept requests for accommodations based upon medical conditions.

        All of the Plaintiffs in these cases are represented by same counsel – the Moser Law Firm,
P.C. and Steven J. Moser, Esq. The County of Suffolk is likewise represented by the same counsel in
both cases – The Suffolk County Attorney and Hope Senzer Gabor, Esq.

        Both of these cases share the same procedural posture – fact discovery has not yet
commenced. Both cases will require overlapping fact discovery. Prosecuting these cases separately
will therefore result in needlessly duplicative effort and legal costs on both sides of the aisle.

         Full consolidation will also result in judicial economies in both discovery and at trial. A
single discovery order can take the place of two, and supervision of discovery will be streamlined. A
single trial can also take the place of two trials. We anticipate that the same witnesses and proof
would be offered at both trials, resulting in needlessly duplicative testimony. Finally, having two
trials involving identical questions of law and fact gives rise to a risk of inconsistent outcomes.

                                          CONCLUSION

        Plaintiffs respectfully request a pre-motion conference regarding the anticipated motion to
consolidate Pflug v. County of Suffolk, 20-cv-00018(SJF)(SIL) with the case of Ruggiero v. County
of Suffolk, 14-cv-07434 (DRH)(SIL) - the first filed case. In the alternative, plaintiffs request
that the Court consolidate the cases sua sponte.

                                                      Respectfully submitted,




                                                      Steven J. Moser

CC:    Hon. Sandra J. Feuerstein (Via ECF)




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